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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IN RE APPLICATION OF TATIANA
 AKHMEDOVA,
                                                                  19-MC-26 (JPO)
                           Applicant,
                                                                       ORDER
 REQUEST FOR DISCOVERY
 PURSUANT TO 28 U.S.C. § 1782.




J. PAUL OETKEN, District Judge:

        Y.Co NY is hereby directed to respond to Applicant’s Motion to Compel filed on July 6,

2020 (Dkt. Nos. 28-30) no later than July 27, 2020. If Y.Co NY fails to respond by that date, the

Motion to Compel will be deemed unopposed.

        Counsel for applicant is directed to serve a copy of this order on Y.Co NY by July 16,

2020.

        SO ORDERED.

Dated: July 13, 2020
       New York, New York

                                             ____________________________________
                                                        J. PAUL OETKEN
                                                    United States District Judge
